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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 14-cv-23172-MGC

  DANIEL ROMERO,

         Plaintiff,

  v.

  ASSOCIATION CAPITAL RESOURCES, LLC,

        Defendant.
  _________________________________________/

                                JOINT NOTICE OF SETTLEMENT

         Plaintiff, DANIEL ROMERO, by and through the undersigned counsel, and Defendant,

  ASSOCIATION CAPITAL RESOURCES, LLC., by and through undersigned counsel, hereby

  notify the Court that the parties have reached a settlement of the Plaintiff’s claim and are in the

  process of finalizing the appropriate settlement documents. Once the parties have fully executed

  the settlement documents, the Plaintiff will file a Motion to Dismiss with Prejudice as to all

  claims asserted in this action.

  Dated: February 26, 2015

         Respectfully submitted,

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